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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHRISTOPHER HOWE,                                   )
individually and on behalf of all others            )
similarly situated,                                 )
                                                    )
               Plaintiff,                           ) No. 1:19-cv-01374
                                                    )
       v.                                           ) Hon. John F. Kness
                                                    )
SPEEDWAY LLC,                                       )
                                                    )
               Defendant.                           )




                SPEEDWAY LLC’S MEMORANDUM IN SUPPORT OF
                    ITS MOTION FOR SUMMARY JUDGMENT




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                                        INTRODUCTION

       The Illinois Biometric Information Privacy Act (“BIPA”) is a notice-and-consent privacy

statute that gives people who have their biometric identifiers or information collected the “power

to say no by withholding consent.” Rosenbach v. Six Flags Ent’mt Corp., 2019 IL 123186, ¶ 34.

BIPA provides a private right of action allowing recovery of $1,000 per negligent violation of

the statute and $5,000 per reckless or intentional violation of the statute. These statutory

damages have inspired a surge of litigation brought under the statute. The litigation surge has hit

not just providers of consumer-facing biometric technology, but also hundreds of Illinois

employers who asked their employees to use simple finger-scan time clocks in order to track

their time and get paid for working.

       In this case, Plaintiff worked as a store manager at a Speedway convenience store for a

little less than two years. When hired in September 2017, Plaintiff enrolled himself on the

finger-scan time clock used by his store, scanned his finger on the clock daily, and enrolled

others onto the clock. He also instructed and then assisted dozens of other store employees, who

reported to him, to enroll in the time clocks. At his deposition, Plaintiff testified he understood

that every time he used the time clock, the clock used “the ridges and marks on [Plaintiff’s]

finger to identify [him] and track [his] hours.” With this understanding, Plaintiff continued to

use the clocks every day without objection. In fact, Plaintiff testified that if he had received a

BIPA-compliant notice from Speedway (Speedway does not concede he didn’t), it would not

have changed his behavior whatsoever. He would have kept working at Speedway, would not

have asked for higher pay, and would have kept scanning his finger on the time clocks.

       Based on Plaintiff’s testimony, judgment should be entered on his claims. By voluntarily

scanning his finger with an understanding of how the time clock worked, Plaintiff voluntarily
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relinquished any privacy right he held in his finger data as to Speedway.

                            SUMMARY OF UNDISPUTED FACTS

       The pertinent facts are set out in detail in the accompanying Local Rule 56.1 Statement of

Facts. Speedway summarizes them here.

       Plaintiff worked as a Speedway store manager from September 2015 to May 2017. SOF

No. 3; Ex. 3 at 13. Plaintiff received training on how to use the finger-scan time clocks and

scanned his finger on those clocks daily to track his hours worked. SOF Nos. 4, 5; Ex. 3 at 21,

41, 55-60, 80, 102.

       At his deposition, Plaintiff testified he used the relevant time clocks to punch in and out

every day he worked at Speedway. SOF No. 5; Ex. 3 at 21, 57-58, 80. He understood that hours

data derived from his punches was transmitted to a server where it could be edited via computer,

then eventually transmitted to Speedway’s payroll department so he could be paid by Speedway.

SOF No. 6; Ex. 3 at 58-59. Plaintiff personally trained new employees on how to use the time

clocks and enrolled them into the system so they, too, could use the time clocks in order to get

paid. SOF No. 7; Ex. 3 at 59-60.

       Plaintiff understood that each time he put his finger on the clock, the clock was relying

on “the ridges and marks on [Plaintiff’s] finger to identify [him] and track [his] hours.” SOF No.

8; Ex. 3 at 80. With this understanding, Plaintiff continued to use the clocks every day. Id.

Plaintiff testified that he does not believe Speedway should have provided him extra

compensation in exchange for using finger-scan technology, and that if Speedway had provided

him with more specific disclosures about what it was doing with the finger-scan information, that

would not have caused him to change his behavior whatsoever. SOF No. 10; Ex. 3 at 80–82.

Plaintiff further testified that he has routinely reduced his expectation of privacy in the



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employment context, including in his current position as a deliveryman, where he is continually

monitored by GPS. SOF No. 11; Ex. 3 at 10-12.

                                          ARGUMENT

       Plaintiff, a store manager, knew exactly what he was doing when he scanned his finger

each day to clock in and out of work. He admitted he was aware his finger data was being used

to verify his identity and track his hours. With that knowledge, Plaintiff voluntarily placed his

finger on the time clock at the beginning and end of every shift. He thus has waived claims

arising out of his voluntary actions.

I.     Through His Conduct, Plaintiff Waived His Biometric Privacy Rights.

       A.      Plaintiff’s actions constitute waiver.

       Plaintiff brings two causes of action, one under BIPA and a negligence count based on

the same facts. BIPA is a notice-and-consent privacy statute. It was enacted to facilitate the use

of biometrics by regulating the collection and possession of “biometric identifiers” and

“biometric information,” as defined in the statute. See 740 ILCS 14/5. The linchpin of BIPA is

notice and consent. Section 15(b) sets up a notice-and-consent regime governing collection of

biometric identifiers or information. Section 15(a) requires private entities in possession of

biometric identifiers or information to have, make available, and adhere to a retention and

deletion policy, and other sections similarly place requirements on private entities in possession

of biometrics. Thus, BIPA’s goal is not to prevent the use of biometrics. Rather, BIPA “vests in

individuals and customers the right to control their biometric information by requiring notice

before collection and giving them the power to say no by withholding consent.” Rosenbach,

2019 IL 123186, ¶ 34.

       Here, it is undisputed that Plaintiff understood his finger data had been collected and was

being used to confirm his identity every time he clocked in and out. SOF No. 8; Ex. 3 at 80.

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Furthermore, Plaintiff testified that had Speedway provided different disclosures than it did, he

would not have done anything differently. He would have continued to work for Speedway for

the same pay, would not have protested use of the time clocks, and would have continued to use

them in the same way every day. SOF No. 10; Ex. 3 at 80-82.

        Under Illinois law, waiver is “the intentional relinquishment of a known right.”

Gallagher v. Lenart, 226 Ill. 2d 208, 233 (2007). Waiver may be either express or implied. Ill.

Ins. Guar. Fund v. Nwidor, 2018 IL App (1st) 171378, ¶ 21. A party can waive privacy rights

through his conduct. See, e.g., Pratt v. Everalbum, Inc., 283 F. Supp. 3d 664, 669 (N.D. Ill.

2017) (plaintiff consented to the use of his name in text messages by clicking through prompts,

so owner of smartphone application did not violate Illinois Right of Publicity Act); Howell v.

Tribune Entm’t Co., 106 F.3d 215, 221 (7th Cir. 1997) (party waived privacy claims by failing to

object to publication of allegedly defamatory matter when she had the chance).

        Here, Plaintiff knowingly and repeatedly used the time clocks at issue during every shift

he worked. SOF No. 5; Ex. 3 at 21, 57-58, 80. Not only did he use the time clocks himself, but

he trained other employees on how to use the clocks and enrolled them in the timekeeping

system:

                Q: So you showed the new employees how to use the clocks?

                A: Correct.

                Q: Did you enroll them into the clock so that they would have
                their employee ID stored with their finger?

                A: Correct.

SOF No. 7; Ex. 3 at 59.
        Plaintiff further admitted that he understood the time clocks used the physical appearance

of his finger to track his time:


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                   Q: My question is did you not understand that when you put your
                   finger on the clock every day that it was relying on, you know, the
                   ridges and marks of your finger to identify you and track your
                   hours?

                   A: Did I not understand that?

                   Q: Yeah.

                   A: No, I understood that.

SOF No. 8; Ex. 3 at 80.

          Despite this understanding, Plaintiff does not believe he should have been paid more in

exchange for putting his finger on the time clocks. Nor would he have done anything differently

had he received the disclosure that he alleges Speedway did not provide:

                   Q: Is there something that you think Speedway should have done
                   differently that would have, you know, taken away the need for
                   you to file the lawsuit?1

                   A: Yes.
                   Q: What do you think Speedway should have done differently?
                   A: Told me what they were doing with my personal information.
                   Q: . . . Let’s say that Speedway should have told you what they
                   were doing with your . . . personal information. Would you have
                   then done something differently?2

                   A: If they would have told me?

                   Q: Yeah.

                   A: No.

                   Q: You wouldn’t have quit?

                   A: No.

                   Q: You wouldn’t have asked for more money?



1
    Plaintiff’s counsel’s objection (“seeks a legal conclusion”) omitted.
2
    Plaintiff’s counsel’s objection (“hypothetical”) omitted.

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                A: No.

                Q: You wouldn’t have protested the use of those clocks?

                A: No.

SOF No. 10; Ex. 3 at 81-82.

        Plaintiff also acknowledged that he was regularly videotaped at Speedway locations, that

he is monitored by GPS at his current job as a deliveryman, and that he had to provide Speedway

with personal information in order to be hired by it. SOF No. 11; Ex. 3 at 10-12.

        Simply put, Plaintiff knew that when he scanned his finger on the time clocks used by

Speedway, the clocks were identifying him by the appearance of his finger. Plaintiff also

recognized that he had a reduced expectation of privacy in the employment context. With that

knowledge, Plaintiff proceeded to use his finger to clock in and out of work each day – and even

today, after suing Speedway, Plaintiff continues to admit that even if he had received the notice

and consent to which he claims he was entitled, that would not have changed his behavior.

Based on these facts, Plaintiff’s conduct constitutes knowing relinquishment of his “power to say

no” to the collection of his finger data.

        B.      Decisions in other BIPA cases support that waiver applies here.

        In this case and others, courts have recognized that in circumstances like these, “any

reasonable person” would have known his finger data was being collected.3 A prior decision in

this case pointed this out:

                Howe’s fingerprints were collected in circumstances under which
                any reasonable person should have known that his biometric data
                was being collected. At the beginning of his employment at
                Speedway, Plaintiff voluntarily submitted to a fingerprint scan. He
                then scanned his fingerprint at the beginning and end of each work
                day, thereby allowing Defendants’ system to identify him and track

3
 Speedway does not concede that it collected biometric identifiers or biometric information as defined by
BIPA and preserves its right to assert any and all defenses and arguments related thereto.

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               his hours. It should have been readily apparent to Plaintiff that his
               fingerprint was being scanned and stored, otherwise how would
               Speedway’s time system recognize him based on that fingerprint?

Howe v. Speedway LLC, No. 17-CV-07303, 2018 WL 2445541, at *6 (N.D. Ill. May 31, 2018)

(Wood, J.).

       Other courts have similarly doubted that where a plaintiff has knowingly consented to the

use of his biometric data, he can claim injury based on technical violations of BIPA. E.g., Colon

v. Dynacast, LLC, No. 19-CV-4561, 2019 WL 5536834, at *4 (N.D. Ill. Oct. 17, 2019)

(collecting cases). In Colon, the court, analyzing Article III standing, held that the plaintiff had

not alleged any injury in fact because she “knew her data was being collected,” so her

employer’s “failure to go through each procedural formality outlined in BIPA did not present any

appreciable risk of harm to the underlying concrete interest in privacy.” Id. (internal quotations

omitted) (explaining that the plaintiff knew exactly what she was doing: “No one alleges that

Defendant snooped around like Nicholas Cage in National Treasure, surreptitiously gathering

Plaintiff’s biometric data off discarded goods.”). The evidence in this case makes clear that

Plaintiff had actual knowledge of the collection of his data, “something that would have been

obvious to any employee subject to a fingerprint or hand-scan.” Id. at *5.

       The Second Circuit reached a similar conclusion in a case in which the plaintiffs

voluntarily allowed their faces to be scanned to create video-game avatars. Santana v. Take-Two

Interactive Software, Inc., 717 F. App’x 12, 14-15 (2d Cir. 2017). To scan their faces, the

plaintiffs held their faces within six to 12 inches of a camera and slowly turned their heads to the

left and right. The face-scanning process took about 15 minutes, after which the plaintiffs played

video-game basketball using avatars that looked like them (but presumably had better athletic

ability). Id. The plaintiffs sued, alleging that the video-game maker had not adequately

disclosed the collection of their facial geometry or obtained plaintiffs’ consent to collection. See
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id. Dismissing the case for failure to allege injury in fact sufficient for standing, the Second

Circuit noted: “No reasonable person . . . would believe that the MyPlayer feature was

conducting other than [a face] scan.” Id. at 16. The “degree of invasiveness far exceeded that of

a simple photo.” Id. Moreover, plaintiffs did not allege that they would have withheld consent

had the video-game maker provided a more detailed written consent. Id. Thus, there was no

“material risk of harm” to BIPA’s concrete data-protection interest. Id.

        In another case, a plaintiff sued an electronic locker company that employs finger

scanners so that renters may use their fingers as a key. The court recognized that no real harm

resulted when the plaintiff “undoubtedly understood when she first used the system that her

fingerprint data would have to be retained until she retrieved her belongings from the locker.”

McCollough v. Smarte Carte, Inc., No. 16 C 03777, 2016 WL 4077108, at *3 (N.D. Ill. Aug. 1,

2016) (dismissing case for lack of Article III standing). Indeed, the court stated, “[t]his Court

assumes that a customer would understand that Smarte Carte collects and retains their fingerprint

data for at least the duration of the rental. The system would not work otherwise.” Id. at *1, n.1.

See also McGinnis v. United States Cold Storage, Inc., 382 F. Supp. 3d 813, 819 (N.D. Ill. 2019)

(dismissing case for lack of Article III standing; “[Plaintiff] knew his fingerprints were being

collected because he scanned them in every time he clocked in or out of work, and he knew they

were being stored because the time-clock-scanned prints were obviously being compared to a

stored set of prints.”).

        Although the foregoing cases arose in the context of Article III standing4, the same

common-sense analysis applies here. Any reasonable person would understand how the time


4
  Article III standing is present in this case. This case is distinguishable from BIPA cases in which Article
III standing has been found lacking, including because of intervening authority from the Illinois Supreme
Court and the Seventh Circuit. See Notice of Removal (Dkt. 1), citing Rosenbach, 2019 IL123186; see
also Bryant v. Compass Grp. USA, Inc., 958 F.3d 617 (7th Cir. 2020) (alleging a violation of section

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clocks used by Speedway worked and what they were doing. As his testimony shows, Plaintiff

himself certainly did. Since the evidence demonstrates that Plaintiff knowingly and voluntarily

scanned his finger with full understanding that his finger-scan was being collected and used—

and that he would not have changed his behavior had Speedway done anything differently—he

waived his right to biometric privacy as to his finger-scan while working at Speedway.5

Speedway is entitled to summary judgment on the merits.

II.      Plaintiff’s Claims Are Barred By Assumption Of The Risk.

         Alternatively, Plaintiff’s claims are barred by the doctrine of primary assumption of the

risk. Primary assumption of the risk applies where the plaintiff’s conduct indicates that he “has

implicitly consented to encounter an inherent and known risk, thereby excusing another from a

legal duty which would otherwise exist.” Edwards v. Lombardi, 2013 IL App (3d) 120518, ¶ 18.

An employee assumes risks that are inherent in his employment. Clark v. Rogers, 137 Ill. App.

3d 591, 594 (4th Dist. 1985).




15(b) is sufficient, without more, for Article III standing); Miller, 926 F.3d at 902. “Standing to sue is
established by allegations . . . of injury,” and “a plaintiff’s failure on the merits does not divest a federal
court of jurisdiction.” Craftwood, Inc. v. Generac Power Sys., Inc., 920 F.3d 479, 481 (7th Cir. 2019);
see also Arizona State Legislature v. Arizona Indep. Redistricting Com’n, 135 S. Ct. 2652, 2663 (2015)
(“[O]ne must not ‘confuse weakness on the merits with absence of Article III standing.”) (citation
omitted). Plaintiff’s allegations—that Speedway violated BIPA and that he sustained personal injuries
including invasion of privacy, mental anguish, and informational injury as a result (see Compl. ¶¶ 45-46,
47)—suffice for standing. This court therefore has jurisdiction to adjudicate the merits, and on the merits,
Plaintiff’s claims fail.
5
  The recent opinions in Lenoir v. Little Caesar Enterprises, Inc., 2020 WL 4569695, at *3 (N.D. Ill. Aug.
7, 2020) and Cothron v. White Castle System, Inc., 2020 WL 3250706, at *4 (N.D. Ill. June 16, 2020) are
not to the contrary. Those opinions held, on Rule 12(b)(6) motions to dismiss, that in that procedural
posture, subsequent consent to the collection of one’s biometric data does not result in waiver of one’s
right to sue for earlier non-consenting collections. Here, Plaintiff knowingly and voluntarily consented to
the use of the finger-scan time clocks from his first day at work. In other words, unlike in Lenoir and
Cothron, here the undisputed facts show that Plaintiff never used the finger-scan time clocks without
knowingly and voluntarily doing so, and would not have behaved differently had he received the
disclosures over which he is suing.

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        In his Complaint, Plaintiff alleges that he was “required to scan his fingerprint” as a

condition of employment. (Compl. ¶ 37.) He claims that this exposed him and other Speedway

employees to “serious and irreversible privacy risks.” (Id. ¶ 3.) Any alleged “privacy risks”

stemming from the use of finger-scan timekeeping technology were thus inherent in the activity

Plaintiff voluntarily chose to undertake: his employment.

        At his deposition, Plaintiff acknowledged that he received training on the finger-scan

time clock technology, understood how they worked, and enrolled and trained other employees

to use the clocks. SOF Nos. 4, 6, 7; Ex. 3 at 21, 41, 55-60, 102. He knew that the clocks used

the ridges of his finger to identify him and track his time. SOF No. 8; Ex. 3 at 80.

        Once an employee assumes the risk inherent in the employment, the employer does not

owe any duty to the employee, so the assumption-of-risk doctrine operates as a complete defense

to claims for negligence. Edwards, 2013 IL App (3d) 120518, ¶ 18. The defense extends to bar

BIPA claims alleging negligent conduct.6 Here, Plaintiff, when hired, and at all times thereafter,

was aware of and voluntarily undertook any risks associated with the use of finger-scan

technology. By choosing and continuing to work at Speedway, Plaintiff assumed the risks

alleged in his Complaint. He therefore cannot maintain his claims.

III.    BIPA Should Be Construed Narrowly To Avoid Absurd Results and Constitutional
        Problems.

        Speedway expects that Plaintiff will respond to the above by arguing that his conduct

doesn’t matter and BIPA is, in effect, a strict-liability statute that imposes statutory penalties on



6
  A statute does not abrogate common-law defenses like assumption of the risk unless it is plain that the
intent of the statute is to impose strict liability. See Johnson v. Johnson, 386 Ill. App. 3d 522, 535 (1st
Dist. 2008) (recognizing assumption of the risk as a valid affirmative defense to a statute despite the
statute’s failure to specifically provide for that defense). BIPA contemplates degrees of fault by providing
for standards of negligence, recklessness, and intent, and therefore does not explicitly abrogate common
law defenses like assumption of the risk.

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any company that fails to comply with even its most mundane and technical requirements, no

matter what Plaintiff knew or did. Plaintiff’s position implicates significant statutory-

construction and constitutional issues. As Speedway discusses below, the Court should construe

BIPA narrowly to avoid the problems Plaintiff’s position may create.

        A.      Avoid absurd results.

        Absurd results are to be avoided. People v. Hanna, 800 N.E.2d 1201, 1207 (Ill. 2003).

The Court must abide by the “cardinal rule of statutory construction,” which is to “ascertain and

give effect to the legislature’s intent.” Id. “The most reliable indicator of legislative intent is

found in the language of the statute itself.” Id.

        The Court should view BIPA “within the real-world activity that [the statute] was

intended to regulate.” Hanna, 800 N.E.2d at 1209. The General Assembly clearly contemplated

that BIPA would apply within the employment context. See 740 ILCS 14/10. It also recognized

the “promise” of biometric technology. Id. § 10. It therefore by no means meant to foreclose the

use of biometric time clocks in the workplace or broadly punish employers without any

consideration of the Plaintiff’s own knowledge, consent, or conduct. The Court should take that

into consideration here.

        B.      Avoid constitutional problems.

        Moreover, Illinois courts routinely apply the canon of constitutional avoidance when

interpreting statutory terms that have more than one potential meaning. People v. Nastasio, 19

Ill.2d 524, 529 (1960) (courts must “interpret [a] statute as to . . . avoid, if possible, a

construction that would raise doubts as to its validity”); Maddux v. Blagojevich, 233 Ill. 2d 508,

516 (2011) (“the General Assembly cannot acquiesce to a construction that is at odds with the

constitution”). The constitutional-avoidance canon requires the Court to construe BIPA so its

constitutionality is not placed in doubt. Here, construing BIPA, as Plaintiff proposes, to award

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potentially millions of dollars in damages based on Plaintiff’s knowing, voluntary, scan of his

finger would run afoul of the United States Constitution for three reasons.

        Due process. First, it is impossible to reconcile Plaintiff’s interpretation of BIPA’s

statutory damages provisions with basic principles of due process. The U.S. Constitution

protects individuals and private entities against “arbitrary deprivations of liberty or property.”

Honda Motor Co. v. Oberg, 512 U.S. 415, 416 (1994). As interpreted by Plaintiff, BIPA would

authorize potentially massive recoveries for plaintiffs who have suffered no actual damages,

even where, as here, Defendant did not collect or store personal biometric data, but instead stored

only a string of numbers. This interpretation fails to comport with due process. See Fraley v.

Batman, 638 F. App’x 594, 597 (9th Cir. 2016) (disproportionate statutory award “implicate[s]

due process concerns”). Due process “of its own force . . . prohibits the States from imposing

‘grossly excessive’ punishments.” Cooper Indus., Inc. v. Leatherman Tool Grp., 532 U.S. 424,

434 (2001). When statutory damages are dissociated from actual harm and then aggregated via

class action, they become “essentially penal.” St. Louis, I.M. & S. Ry. Co. v. Williams, 251 U.S.

63, 66 (1919). A statutory award violates due process when it is “so severe and oppressive as to

be wholly disproportioned to the offense and obviously unreasonable.” Id. at 66–67; see also

Stillmock v. Weis Mkts., Inc., 385 F. App’x 267, 278 (4th Cir. 2010) (Wilkinson, J., concurring)

(“Certifying a class that would impose annihilative damages where there has been no actual harm

. . . could raise serious constitutional concerns.”).

        Moreover, the Illinois legislature failed to “afford the citizenry a reasonable opportunity

to familiarize itself with [BIPA’s] terms and to comply.” Texaco Inc. v. Short, 454 U.S. 516, 532

(1982). BIPA is buried in the “Civil Liabilities” chapter of the Illinois Code; it does not appear

in the “Employment” chapter. As a result, hundreds of companies have been sued as a result of



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their technical non-compliance with BIPA. Despite this, Plaintiff claims that Speedway should

held liable to a tune of $1,000 or more per violation, regardless of Plaintiff’s conduct. To avoid

these results, the Court should construe BIPA narrowly, including by ruling that BIPA rights are

subject to black-letter Illinois law on waiver.

       First Amendment. Second, Plaintiff’s interpretation of BIPA, as applied to Speedway,

also raises serious First Amendment concerns. Because BIPA regulates information and

compels speech, including restrictions on uses of information in the employment context, BIPA

must operate within the bounds set by the First Amendment. A restraint on commercial speech

must meet three conditions: (1) the government must have a “substantial interest” in regulating

the speech; (2) the regulation must directly and materially advance that interest; and (3) the

regulation must be no “more extensive than is necessary to serve that interest.” Central Hudson

Gas & Elec. Corp. v. Pub. Serv. Comm’n of New York, 447 U.S. 557, 566 (1980); see also

Zauderer v. Office of Disciplinary Counsel of Supreme Court of Ohio, 471 U.S. 626, 651 (1985)

(“We recognize that unjustified or unduly burdensome disclosure requirements might offend the

First Amendment by chilling protected commercial speech.”); Riley v. Nat’l Fed’n of Blind of

N.C., Inc., 487 U.S. 781, 797 (1988) (the First Amendment protects “the decision of both what to

say and what not to say”); Pac. Gas and Elec. v. Pub. Util. Comm’n, 475 U.S. 1 (1986) (state

regulation requiring utility company to include information in its billing envelopes constituted

compelled speech and violated First Amendment). Here, Illinois does not have a substantial

interest in regulating Defendants’ alleged collection of finger-scan data with the full knowledge

of Plaintiff. Even if Illinois did have such an interest, BIPA does not materially advance it, and,

as applied to Defendants, BIPA is far more extensive than is necessary to accomplish that




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governmental interest. The Court therefore should construe BIPA narrowly and apply typical

common-law principles such as waiver to Plaintiff’s claims.

       Equal Protection. Third, Plaintiff’s proposed application of BIPA also runs afoul of the

Equal Protection Clause. The “core concern of the Equal Protection Clause” is to “shield against

arbitrary classifications.” Engquist v. Oregon Dept. of Agr., 553 U.S. 591, 598 (2008). Where a

statute imposes different burdens on similarly situated groups, equal protection requires courts to

ask whether the classification bears a “rational relationship” to “some legitimate government

purpose.” St. Joan Antida High School Inc. v. Milwaukee Pub. School Dist., 919 F.3d 1003,

1010 (7th Cir. 2019). Statutes that, like BIPA, contain numerous exceptions often are deemed

impermissibly arbitrary. See Government Discrimination: Equal Protection Law & Litig., § 4:30

(2018) (collecting cases). Because BIPA imposes burdensome regulations on certain entities

while arbitrarily excepting others, it violates equal protection.

       Here, Plaintiff claims that Speedway’s collection of his finger-scan data violated his

BIPA rights when he scanned his finger to clock in and out of his job as a convenience store

manager. But BIPA also exempts several entities from its scope: (1) financial institutions and

any affiliates of a financial institution “subject to Title V of the federal Gramm-Leach-Bliley Act

of 1999” (740 ILCS 14/25(c)); (2) contractors, subcontractors, and agents of a state agency or

local unit of government (§ 14/25(e)); (3) state and local government agencies and courts (§

14/10); and (4) those that collect biometric data in connection with “health care treatment,

payment, or operations under the federal Health Insurance Portability and Accountability Act of

1996”—arguably practically every entity in the health care industry. Id.

       These exemptions potentially undermine the purpose of BIPA, which is to protect

individuals against the risk that their biometric data might be compromised. See § 14/5;



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Rosenbach, 2019 IL 123186, ¶¶ 33-34. The foregoing exemptions mean that, as to employees or

customers of financial institutions, affiliates of a financial institution, government contractors or

subcontractors, public agencies, and health care entities, it is as if BIPA had never been passed at

all. BIPA thus establishes an impermissible scheme: individuals possess a right to privacy in

their biometric data, but only some entities must respect that right. These “arbitrary

classifications,” Engquist, 553 U.S. at 598, bear no rational relationship to the objective of

safeguarding individuals’ biometric data.

       The Court, however, can avoid these constitutional problems in this case by simply

applying well-settled Illinois law on waiver. Through his conduct, Plaintiff voluntarily

relinquished his rights. The Court should reject any attempts by Plaintiff to stretch BIPA beyond

its constitutional breaking point and instead should simply apply Illinois law on waiver.

                                          CONCLUSION

       For the reasons above, Speedway respectfully requests that the Court enter summary

judgment in its favor.




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Dated: August 18, 2020                  Respectfully submitted,

                                        SPEEDWAY LLC

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                                    CERTIFICATE OF SERVICE

        I, Matthew C. Wolfe , an attorney, hereby certify that on August 18, 2020, I caused a true

and correct copy of SPEEDWAY LLC’S MEMORANDUM IN SUPPORT OF ITS

MOTION FOR SUMMARY JUDGMENT to be served on counsel of record via ECF pursuant

to the General Order on Electronic Filing of the United States District Court, Northern District of

Illinois.




                                                  /s/ Matthew C. Wolfe
